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Millionen Gmail-E-Mails mitgelesen. (Foto: Shutterstock)
03.07.2018, 11:02 Uhr
Hunderte externe App-Entwickler haben laut einem Medienbericht NIX MEHR VERPASSEN:
Zugriff auf die E-Mails von Gmail-Nutzern. Oft lesen nicht nur UNSERE NEWSLETTER

Maschinen, sondern auch Mitarbeiter die Inhalte mit.

 

E-Mail-Adresse

 

Im vergangenen Sommer hatte Google versprochen, dass das automatisierte W3hle deine t3n Newsletter

(] All you can read

—) Pioneers Breakfast
von Nutzern des Google-Dienstes haben, wie das Wall Street Journal berichtet. () Tech, Dev & Admin

Analysieren von Gmail-E-Mails zu Werbezwecken gestoppt werde. Das verhindert aber

offenbar nicht, dass die Entwickler von externen Apps Zugriff auf die Inhalte der Mails

C) Marketing

https://t3n.de/news/gmail-entwickler-lesen-e-mails-1092478/ 8/7/2020

 

 
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Demnach sollen neben Maschinen auch Mitarbeiter Zugriff auf private E-Mails von

Gmail-Nutzern haben.

Den Zugangsberechtigungen Googles zufolge kénnen auf Daten spezialisierte
Unternehmen und Softwarefirmen neben Empfangeradressen und Metadaten auch
die Inhalte der E-Mails lesen. Zwar miissen Gmail-Nutzer den Firmen den Zugriff auf
ihre Daten Uber ein Opt-in erlauben. Laut The Verge ist dabei aber nicht immer klar
ersichtlich, dass auch Menschen die E-Mail-Inhalte mitlesen kénnten. Nicht nur in
diesem Fall sollten Nutzer immer genau tiberlegen, welche Rechte sie Drittanbietern

einraumen, und nicht einfach blind allem zustimmen.

Nutzer miissen Zugriff auf Gmail-E-Mails erlaubt
haben

In den meisten Fallen handelt es sich bei den Firmen mit Zugriff auf Gmail-E-Mails um
Anbieter von Preisvergleichen oder Reiseplanern. Die Unternehmen miissen sich einer
Uberpriifung durch Google stellen, wie der Suchmaschinenriese betont. Dabei werde
gepriift, ob eine genannte Firma auch tatsachlich hinter der betroffenen App steckt.
Zudem miissen die Firmen Nutzer tiber die Datenauswertung unterrichten. Und die

E-Mail-Analyse sollte fiir die App-Ausfiihrung auch notwendig sein.

Zu den Unternehmen, die Gmail-E-Mails mitlesen, gehéren etwa Salesforce und
Microsoft Office, aber auch weniger bekannte E-Mail-Apps. Auch Google liest
weiterhin E-Mails seiner Nutzer, allerdings nur dann, wenn es dazu aufgefordert
werde, oder wenn es um Sicherheitszwecke oder Bugs gehe. Dartiber hinaus gewahrt
natirlich nicht nur Gmail, sondern auch andere E-Mail-Anbieter App-Entwicklern

Zugriff auf entsprechende Daten.

 

 

 
 

Si darhaws dawn Agias aaler Diesstens Sia

fae? My Google Kons gewillyt, Meaere

 

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Gmail-Nutzer k6nnen iberpriifen, welche Apps Zugriff auf ihre E-Mails haben. (Screenshot: Google/t3n.de)

Bisher gibt es laut den US-Medienberichten keine Hinweise darauf, dass die E-Mail-
Daten in irgendeiner Weise von App-Entwicklern missbraucht worden sind. Allerdings
sieht es schon stark nach einer Verletzung der Privatsphare aus, wenn Menschen die
eigenen E-Mail-Inhalte mitlesen —- man denke da an das Postgeheimnis. Wie sicher das
System der Uberpriifung durch Google ist, ist zudem nicht klar. Pessimisten diirften

sich an den Skandal um Facebook und Cambridge Analytica erinnert fiihlen.

https://t3n.de/news/gmail-entwickler-lesen-e-mails-1092478/ 8/7/2020

 
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Zustimmung zu Gmail-Zugriffen iiberpriifen

Wer tiberpriifen will, welche Apps die Erlaubnis haben, die eigenen Gmail-E-Mails
mitzulesen, kann dies hier tun. Dort konnen entsprechende Zustimmungen auch
wieder riickgangig gemacht werden.

interessant in diesem Zusammenhang: Neues Gmail-Feature hilft euch beim
Schreiben von Mails

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rassistische und strafrechtlich relevante Augerungen und Beitrage tolerieren wir nicht. Bitte achte darauf, dass du keine Texte
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Trotz all dieser notwendigen Regeln: Diskutiere kontrovers, sage anderen deine Meinung, trage mit weiterfiihrenden Informationen
zum Wissensaustausch bei, aber bleibe dabei fair und respektiere die Meinung anderer. Wir wiinschen Dir viel SpaB mit den
Webangeboten von t3n und freuen uns auf spannende Beitrage.

Dein t3n-Team

SCHREIB DEN ERSTEN KOMMENTAR!

Melde dich mit deinem t3n Account an oder fiille die unteren Felder aus.

Dein Kornmentar

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Dein Kommentar

Name

Name

€-Maltl-Adresse (wird nicht veréffentlichd

E-Mail-Adresse

Website - optional

Website

Nur Antworten auf meine Kommentare

Page 5 of 5 page 4 of 4

Benachrichtige mich Gber Folgekornmentare per E-Mail. Du kannst auch ohne Kommentar abonnieren.

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